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                      Exhibit 3
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                                             September 21, 2021


     McDonald’s Corporation
     c/o Catherine Y. Lui
     Orrick, Herrington & Sutcliffe LLP
     clui@orrick.com

                     Re: Demand for Retraction of False Advertising About the Kytch Solution
     Dear Ms. Lui:
            We write on behalf of Kytch, Inc.
             After working around the clock for several years and investing significant capital to develop
     smart kitchen technology, in April 2019 Kytch announced its flagship product “Kytch Solution,” an
     innovative fix for the soft-serve machines at McDonald’s manufactured by Taylor Company.
     The Kytch Solution automatically detects and prevents the machines’ common problems that often
     lead to expensive repairs and lost revenue. Kytch’s proven ability to reduce machine downtime
     showed incredible potential to save McDonald’s franchisees millions of dollars each year. These
     franchisees recognized Kytch’s value, and Kytch was successfully building its business, already having
     installed the Kytch Solution in hundreds of McDonald’s restaurants across the country.
             On November 4, 2020, McDonald’s destroyed not only the potential value to its franchisees
     that Kytch promised, but also the value of Kytch’s business, by making false, deceptive, and
     defamatory statements about the Kytch Solution to the operators of more than 10,000 McDonald’s
     restaurants in North America. McDonald’s—together with soft-serve machine manufacturing giant
     Taylor—broadly disseminated a purported “Safety Note” to restaurant operators and Taylor’s global
     distributor network to falsely advertise that:
            •   Kytch Solution “creat[es] potential equipment reliability issues without the restaurant’s
                knowledge or ability to stop it”;
            •   Kytch Solution “creates a potential very serious safety risk for the crew or technician
                attempting to clean or repair the [soft-serve] machine”; and
            •   Kytch Solution’s remote capabilities “can cause serious human injury.”
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        But McDonald’s has long known that Kytch presents no safety hazard to individuals
“attempting to clean or repair” the machines. First, Kytch disables automation features when any
user is cleaning the interior of the machine or pressing buttons on the control panel. Kytch
cannot remotely engage the soft-serve machines’ motors when the freezer door is removed. Kytch
co-founder Jeremy O’Sullivan explained all of this, in no uncertain terms, to McDonald’s Equipment
Team Leader Tyler Gamble less than two weeks before McDonald’s false advertisement. This, alone,
should have resolved any safety concerns about Kytch somehow causing serious human injury.
         Second, Intertek has conducted extensive product testing and concluded that the
Kytch Solution satisfies all electrical safety requirements in accordance with United Laboratory (UL)
regulations.1 Indeed, the UL regulations are the standard to which Taylor’s soft-serve machines in
thousands of McDonald’s restaurants must adhere. In fact, according to Taylor’s own marketing
materials, “most [] Taylor equipment is approved for electrical safety through Underwriter’s
Laboratories (UL) regulations.”2
        Third, while McDonald’s was encouraging its franchisees to abandon Kytch’s product with
the fraudulent “Safety Note,” it was simultaneously urging franchisees in leadership and on its
Equipment Team to continue using the product so that McDonald’s and Taylor could unfairly
compete against Kytch. If the “safety” concerns were legitimate, McDonald’s would have told its
own Equipment Team to stop using Kytch as well.
                                                     ******
        In addition to the false advertisement discussed above, we have learned that McDonald’s has
made false and defamatory statements about Kytch to Coca-Cola and other potential business
partners that expressed interested in buying Kytch’s technology. Like the damage McDonald’s
caused by sending its “Safety Note” to Kytch’s existing customers, McDonald’s irreparably damaged
these prospective business opportunities.
       Anticompetitive practices like this cause both consumers and competitors significant harm,
and they are subject to severe civil penalties under state and federal laws.3 To mitigate the significant
harm McDonald’s has caused, Kytch requires that McDonald’s:
      1. Immediately cease and desist publishing false, deceptive, and/or defamatory statements
         about Kytch and disparaging its products and services.
      2. Immediately issue the public retraction in Appendix 1, read by McDonald’s CEO and posted
         in a video message on all McDonald’s social media accounts. It should also be posted
         internally on spo.mcd.com for at least 180 days.



1
  Kytch conforms to UL STD 62368-1 and has successfully completed EMC testing consistent with the requirements of
47 CFR Subpart B §§ 15.101 -15.123.
2
  Taylor Food Company, FAQs – Technical and Electrical, https://www.taylor-company.com/en/about/faq; (emphasis
added unless otherwise specified).
3
  See, e.g., 15 U.S.C. §§ 45, 1125.



                                                        3
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   3. Immediately email the public retraction in Appendix 1 to all individuals, entities, Kytch
      customers, and prospective customers to whom the “Safety Note” was sent, including (but
      without limitation) to the 1,000+ McDonald’s franchise owners and the executives at Coca-
      Cola to whom McDonald’s made disparaging statements about Kytch.
       Until this matter is resolved, the document preservation requirements we raised previously
remain in place. Please confirm that McDonald’s will continue to retain, and will not destroy, all
documents and communications relevant to Kytch, its technology, and the safety of its products.
       We look forward to your prompt response.

                                                            Regards,




                                                            Elizabeth M. Locke, P.C.




                                                            Daniel P. Watkins




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APPENDIX 1
A MESSAGE FROM OUR CEO & PRESIDENT, CHRIS KEMPCZINSKI


I’m sending this message to our restaurant operators to apologize to Kytch, Inc. and its
founders Jeremy O’Sullivan and Melissa Nelson for McDonald’s November 4, 2020
“Safety Note.”

Today, McDonald’s is retracting our November 4, 2020 “Safety Note” in full. That alert
made false claims that Kytch could cause harm to individuals operating Taylor soft-serve
ice cream machines, and McDonald’s improperly told restaurant operators that use of
Kytch’s device would void any existing OEM warranty.

The truth is, Kytch created a safe, innovative solution that made significant strides to fix
the broken soft-serve machines used in McDonald’s restaurants. McDonald’s regrets
having made these statements, and we should not have threatened to void any OEM
equipment warranty. Period.

McDonald’s respects fair competition and believes that innovation benefits when there
are more inventors bringing their technology to the marketplace of ideas. It was not right
for us to go against these values. Good leaders admit when they’re wrong. And that is
precisely what we are doing now.

We encourage you to visit www.Kytch.com and consider subscribing to Kytch’s service,
which has a demonstrated track record of improving the efficacy of soft-serve machines
and bringing commercial kitchens into the 21st century.




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